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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLORADO

  Civil Action No.: 1:19-cv-00455-DME-MEH

  GENE SEGALIS, Individually and
  on Behalf of All Others Similarly Situated,

                                      Plaintiff,
                          v.

  MOLSON COORS BREWING COMPANY,
  MARK R. HUNTER, and
  TRACEY I. JOUBERT,

                                     Defendants.



  Civil Action No.: 1:19-cv-00514-KLM

  LARRY SUSSBERG, Individually and On
  Behalf of All Others Similarly Situated,

                                      Plaintiff,
                          v.

  MOLSON COORS BREWING COMPANY,
  MARK R. HUNTER, and TRACEY I.
  JOUBERT,

                                     Defendants.




     NOTICE OF MOTION OF IRON WORKERS LOCAL 580 JOINT FUNDS FOR
                CONSOLIDATION, APPOINTMENT AS LEAD
                 PLAINTIFF AND APPROVAL OF COUNSEL
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  TO: ALL PARTIES AND THEIR COUNSEL OF RECORD

         PLEASE TAKE NOTICE that Iron Workers Local 580 Joint Funds (“Iron Workers”),

  by and through its counsel, will and does hereby move this Court, pursuant to Section 21D(a)(3)

  of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3), as amended by the Private

  Securities Litigation Reform Act of 1995 and Rule 42 of the Federal Rules of Civil Procedure,

  for the entry of an Order: (1) consolidating the above-captioned related actions; (2) appointing

  Iron Workers as Lead Plaintiff on behalf of all persons and entities that purchased or otherwise

  acquired securities of Molson Coors Brewing Company between February 14, 2017 and

  February 12, 2019, both dates inclusive; and (3) approving Lead Plaintiff’s selection of

  Pomerantz LLP as Lead Counsel for the Class.

         In support of this motion, Iron Workers submits a Memorandum of Law, the Declaration

  of Jeremy A. Lieberman submitted herewith, the pleadings and other filings herein, and such

  other written and oral arguments as may be presented to the Court.


  Dated: April 16, 2019
                                              POMERANTZ LLP

                                              /s/ Jeremy A. Lieberman
                                              Jeremy A. Lieberman
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                                    Lead Counsel for the Class




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